                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA

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                                               )
UNITED STATES OF AMERICA,                      )        CASE NO. 2:19-cr-00147-RFB-NJK
                                               )
                      Plaintiff,               )
v.                                             )             VIDEO TELECONFERENCE &
                                               )              TELEPHONE CONFERENCE
DEMTRIUS SCOTT,                                )                APPEARANCE ORDER
                                               )
                      Defendant.               )
                                               )



        In Response to General Order 2020-5 by the Chief Judge of this District in which she has
specifically authorized video teleconferences and telephone conferences pursuant to Section
15002(b) of the CARES Act, this Court has reviewed the record in this case and finds pursuant to
Section 15002(b) that delay of the Revocation of Supervised Release until an in-person hearing
can be safely arranged would do harm to the interests of justice as the Defendant could be subject
to a longer period of p retrial detention and incarceration.

      Accordingly,
      IT IS ORDERED that a Video Revocation of Supervised Release Hearing is set for
June 10, 2021 at 3:45 PM in LV Courtroom 7C before Judge Richard F. Boulware, II.

        IT IS FURTHER ORDERED that the parties shall submit any relevant written
submissions, including but not limited to stipulations, motions, plea documents, waivers or
sentencing memoranda, regarding this hearing at least the morning prior to the hearing set
in this Order. If such a submission is a sentencing memorandum, the parties shall include
their own position on the criminal history of the individual to be sentenced.

       IT IS FURTHER ORDERED that members of the public seeking to have access to this
hearing must, prior to the day of the hearing, contact the Court by email to request access to and
receive permission to listen this hearing by telephone. Members of the public granted such access
must join the remote proceedings prior to their official commencement. Once a remote proceeding
has begun, no access will be granted to the proceeding.

        IT IS FURTHER ORDERED that no one or entity or organization, including but
not limited to counsel, counsel’s agents or staff, the Defendant, law enforcement agents/
officers, members of the public, who participate in or listen to this proceeding may record it in
any manner. Any individual, entity or organization that records this proceeding without written
authorization of the Court shall be subject to civil and/or criminal contempt penalties by this
Court.
       IT IS FURTHER ORDERED that defense counsel shall provide all necessary
documents to the defendant in advance of the hearings, including the waiver of in person
appearance form attached to this order.

       IT IS FURTHER ORDERED that defense counsel shall contact the Courtroom
Administrator at “blanca_lenzi@nvd.uscourts.gov”or (702) 464-5470 with information on how
the defendant will participate in the video conference. If the defendant will be appearing at the
hearing using his/her own equipment, the defense counsel must confirm with the Courtroom
Administrator that the defendant’s equipment is compatible with the Court’s conference
technology. Defense counsel must also provide the defendant’s email address to facilitate the
remote connection and the defendant’s phone number in the event of any technical difficulties.

        IT IS FURTHER ORDERED that the parties shall file any necessary signed documents at
least the morning prior to the scheduled hearing consistent with General Order 2020-05.



       DATED: June 8, 2021.

                                                    __________________________________
                                                    RICHARD F. BOULWARE, II
                                                    UNITED STATES DISTRICT JUDGE
